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                                                                                               2017 Sep-18 PM 04:44
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


GINA KAY RAY, et al.,                                )
    Plaintiffs,                                      )
                                                     )
v.                                                   )       Case No.: 2:12-02819-RDP
                                                     )
JUDICIAL CORRECTION                                  )
SERVICES, INC., et al.,                              )
    Defendants.                                      )


                      JOINT REPORT ON DISCOVERY AND
                      REQUEST FOR BRIEFING SCHEDULE

       COME NOW Defendants CHC Companies, Inc. and Correct Care Solutions,

LLC and report1 pursuant to this Court’s Order of July 25, 2017 (Doc. 616) that all

available discovery was produced to Plaintiffs on or before August 21, 2017.

Defendants request pursuant to the order that the Court enter the following



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  Plaintiffs chose not to contribute to this report and instead took the position that these
defendants failed to produce records as ordered by Judge Cornelius on July 17, 2017; those were
produced on July 18, 2017. On July 25, 2017, these defendants produced a copy of the
Certificate of Merger and Amended and Restated Certificate of Merger filed with the State of
Delaware. Additionally, these defendants produced the schedules referred to in Judge
Cornelius’s Order (Doc. 613) on August 8, 2017, and Schedule 2.8 on August 21, 2017. On
August 21, 2017, these defendants wrote to Plaintiffs’ counsel regarding this Court’s Order and
received no response. Exhibit A. On August 30, 2017, these defendants sent a draft joint report to
Plaintiffs per this Court’s Order and received no response. Exhibit B. On September 6, 2017,
CHC Cos. and CCS, LLC again asked for Plaintiffs’ comments. Exhibit C. On September 13,
2017, Plaintiffs responded that discovery was not complete and demanded these defendants
produce documents that were previously produced. Exhibit D. These defendants responded
stating all discovery was produced or does not exist and requested Plaintiffs’ participation in this
joint report, but received no reply. Exhibit E, enclosures omitted.
proposed schedule for supplemental briefing on CHC Cos.’s and CCS, LLC’s

motions for summary judgment:

      1.     CHC Cos. and CCS, LLC shall re-file their original dispositive

motions, briefs, and exhibits within five (5) days of the Court order approving the

proposed schedule in this joint report.

      2.     Plaintiffs shall re-file their original responsive briefs and a separate

supplemental brief only addressing the recently produced documents within eleven

(11) days after CCS, LLC and CHC Cos. re-file their original briefs. The

supplemental briefs must not exceed fifteen (15) pages.

      3.     CCS, LLC and CHC Cos. shall re-file their reply briefs and separate

supplemental briefs only addressing Plaintiffs’ supplemental briefs within eleven

(11) days after Plaintiffs file their responsive brief and supplemental brief. The

supplemental brief must not exceed fifteen (15) pages.


      Dated: September 18, 2017               RESPECTFULLY SUBMITTED,

                                              /s/ F. Lane Finch, Jr.
                                              F. Lane Finch Jr.
                                              ASB-0027-I58F
                                              Brian C. Richardson
                                              ASB-5241-H14U
                                              Attorneys for CHC Companies, Inc.
                                              and Correct Care Solutions, LLC




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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2017, I have electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which will send
notification of filing to the following attorneys of record:

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